         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 1 of 43




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
MARK MEADOWS,                                )
1023 North Royal Street, Unit 302            )
Alexandria, VA 22314,                        )
                                             )
                Plaintiff,                   )
                                             )
       v.                                    )   Case No. __________
                                             )
NANCY PELOSI, in her official                )
capacity as Speaker of the United States     )
House of Representatives;                    )
                                             )
BENNIE G. THOMPSON, in his official          )
capacity as Chair of the Select Committee )
to Investigate the January 6th Attack on the )
United States Capitol;                       )
                                             )
ELIZABETH L. CHENEY, in her official )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
ADAM B. SCHIFF, in his official              )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
JAMIE B. RASKIN, in his official             )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
SUSAN E. LOFGREN, in her official            )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
ELAINE G. LURIA, in her official             )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
PETER R. AGUILAR, in his official            )
capacity as a member of the United States )
House of Representatives;                    )
                                             )
                                             )
            Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 2 of 43




STEPHANIE MURPHY, in her official             )
capacity as a member of the United States     )
House of Representatives;                     )
                                              )
ADAM D. KINZINGER, in his official            )
capacity as a member of the United States     )
House of Representatives;                     )
                                              )
SELECT COMMITTEE TO                           )
INVESTIGATE THE JANUARY 6TH                   )
ATTACK ON THE UNITED STATES                   )
CAPITOL;                                      )
                                              )
                                              )
                Defendants.                   )
                                              )

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.       Plaintiff, the Honorable Mark Meadows (“Mr. Meadows”), a private citizen who

previously served as a Member of Congress and subsequently as Chief of Staff to the President of

the United States, brings this complaint for declaratory and injunctive relief to invalidate and

prohibit the enforcement of two overly broad and unduly burdensome subpoenas from a select

committee of the U.S. House of Representatives (the “Select Committee”) issued in whole or part

without legal authority in violation of the Constitution and laws of the United States.

       2.       The Select Committee wrongly seeks to compel both Mr. Meadows and a third-

party telecommunications company to provide information to the Select Committee that the

Committee lacks lawful authority to seek and to obtain. The Select Committee acts absent any

valid legislative power and threatens to violate longstanding principles of executive privilege and

immunity that are of constitutional origin and dimension. Without intervention by this Court, Mr.

Meadows faces the harm of both being illegally coerced into violating the Constitution and having




                                                  2
            Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 3 of 43




a third party involuntarily violate Mr. Meadows rights and the requirements of relevant laws

governing records of electronic communications. Only this Court can prevent these grave harms.

       3.       For months, Mr. Meadows has consistently sought in good faith to pursue an

accommodation with the Select Committee whereby it could obtain relevant, non-privileged

information. While the Committee and Mr. Meadows engaged over a period of time in an effort to

achieve such reasonable accommodation, the Select Committee adamantly refused to recognize

the immunity of present and former senior White House aides from being compelled to appear

before Congress and likewise refused to recognize a former president’s claims of Executive

Privilege and instructions to Mr. Meadows to maintain such privilege claims in addressing the

Select Committee’s inquiries.

       4.       The current President of the United States, through counsel, purported to waive the

former president’s claims of privilege and immunity.

       5.       As a result, Mr. Meadows, a witness, has been put in the untenable position of

choosing between conflicting privilege claims that are of constitutional origin and dimension and

having to either risk enforcement of the subpoena issued to him, not merely by the House of

Representatives, but through actions by the Executive and Judicial Branches, or, alternatively,

unilaterally abandoning the former president’s claims of privileges and immunities. Thus, Mr.

Meadows turns to the courts to say what the law is.

                                            PARTIES

       1.       Plaintiff Mark Meadows served as Chief of Staff to President Donald J. Trump from

March 31, 2020 until January 20, 2021. Mr. Meadows is currently a senior partner at the

Conservative Partnership Institute in Washington, D.C. Mr. Meadows previously served as a




                                                 3
            Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 4 of 43




Republican member of the U.S. House of Representatives, representing North Carolina’s 11th

Congressional District, from January 3, 2013 to March 30, 2020.

       2.       Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the U.S.

House of Representatives and Speaker of the House.

       3.       Defendant Bennie G. Thompson (“Chairman Thompson”) is a Democrat member

of the U.S. House of Representatives and Chairman of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. Subpoenas challenged herein were issued with

his authority as Chair.

       4.       Defendant Elizabeth L. Cheney is a Republican member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       5.       Defendant Adam B. Schiff is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       6.       Defendant Jamie B. Raskin is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       7.       Defendant Susan E. Lofgren is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       8.       Defendant Elaine G. Luria is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.



                                              4
            Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 5 of 43




       9.       Defendant Peter R. Aguilar is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       10.      Defendant Stephanie Murphy is a Democrat member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       11.      Defendant Adam D. Kinzinger is a Republican member of the U.S. House of

Representatives and members of the Select Committee to Investigate the January 6th Attack on

the United States Capitol.

       12.      Defendant Select Committee to Investigate the January 6th Attack on the United

States Capitol (the “Select Committee”) is a select committee created by House Resolution 503

(“H. Res. 503”) passed by the U.S. House of Representatives on June 30, 2021.

                                JURISDICTION AND VENUE

       13.      This Court has subject matter jurisdiction, pursuant to 28 U.S.C. § 1331, because

this action arises under the Constitution and laws of the United States.

       14.      This Court has personal jurisdiction over Speaker Pelosi because she sponsored H.

Res. 503 and oversaw its passage in the House. She also approved and ratified the issuance of the

Meadows and Verizon Subpoenas from Washington, D.C.

       15.      This Court has personal jurisdiction over Chairman Thompson because he presides

over the Select Committee and issued the Meadows and Verizon Subpoenas from his office

address in Washington, D.C.

       16.      This court has personal jurisdiction over Elizabeth L. Cheney, Adam B. Schiff,

Jamie B. Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, Adam



                                                 5
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 6 of 43




D. Kinzinger because they serve as members of the Select Committee that issued the Meadows

and Verizon Subpoenas from Washington, D.C.

       17.      This Court has personal jurisdiction over the Select Committee because it is located

and operates in Washington, D.C.

       18.      Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving

rise to the claim occurred in Washington, DC.

                                       RELEVANT FACTS

       19.      At the times relevant here, Mr. Meadows served as Chief of Staff to President

Donald J. Trump, including for the period following the 2020 Presidential Election up to the

Inauguration of President Joseph R. Biden, Jr., on January 20, 2021.

       20.      In a well-known episode on January 6, 2021, a large group of protestors in

Washington, D.C., entered the U.S. Capitol, breached security, and disrupted the counting of

Electoral College votes until order was restored. The U.S. Department of Justice has arrested more

than 500 individuals in connection with the activities on January 6th.

A.     Formation, Composition, and Authority of the Select Committee

       21.      Earlier this year, Congress considered establishing a “National Commission to

Investigate the January 6 Attack on the United States Capital Complex.”

       22.      Chairman Thompson introduced H.R. 3233 on May 14, 2021. H.R. 3233 would

have established the Commission for four “purposes”:

             a. “To investigate and report upon the facts and causes relating to the January 6, 2021,
                domestic terrorist attack upon the United States Capitol Complex (hereafter
                referred to as the “domestic terrorist attack on the Capitol”) and relating to the
                interference with the peaceful transfer of power, including facts and causes relating
                to the preparedness and response of the United States Capitol Police and other
                Federal, State, and local law enforcement in the National Capitol Region and other
                instrumentality of government, as well as the influencing factors that fomented such



                                                  6
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 7 of 43




                attack on American representative democracy while engaged in a constitutional
                process.”

             b. “To examine and evaluate evidence developed by relevant Federal, State, and local
                governmental agencies, in a manner that is respectful of ongoing law enforcement
                activities and investigations regarding the domestic terrorist attack upon the
                Capitol, regarding the facts and circumstances surrounding such terrorist attack and
                targeted violence and domestic terrorism relevant to such terrorist attack.”

             c. “To build upon the investigations of other entities and avoid unnecessary
                duplication by reviewing the findings, conclusions, and recommendations of other
                Executive Branch, congressional, or independent bipartisan or non-partisan
                commission investigations into the domestic terrorist attack on the Capitol and
                targeted violence and domestic terrorism relevant to such terrorist attack, including
                investigations into influencing factors related to such terrorist attack.”

             d. “To investigate and report to the President and Congress on its findings,
                conclusions, and recommendations for corrective measures that may include
                changes in law, policy, procedures, rules, or regulations that could be taken to
                prevent future acts of targeted violence and domestic terrorism, including to prevent
                domestic terrorist attacks against American democratic institutions, improve the
                security posture of the United States Capitol Complex while preserving
                accessibility of the Capitol Complex for all Americans, and strengthen the security
                and resilience of the Nation and American democratic institutions against domestic
                terrorism.”

       23.      The Commission would have included a bipartisan group of ten members: (1) a

“Chairperson” “appointed jointly by the Speaker of the House of Representatives and the majority

leader of the Senate”; (2) a “Vice Chairperson” “appointed jointly by the minority leader of the

House of Representatives and the minority leader of the Senate”; (3) “two members . . . appointed

by the Speaker of the House of Representatives”; (4) “two members . . . appointed by the minority

leader of the House of Representatives”; (5) “two members . . . appointed by the majority leader

of the Senate”; and (6) “two members . . . appointed by the minority leader of the Senate.” Because

Democrats control both chambers in the current Congress, the Commission would have included

five members appointed by Democrats and five members appointed by Republicans.

       24.      The House passed H.R. 3233 on May 19, 2021.



                                                  7
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 8 of 43




       25.     The Senate considered a cloture motion to proceed on H.R. 3233 on May 28, 2021.

The motion failed by a vote of 54 yeas and 35 nays.

       26.     On June 28, 2021, Speaker Pelosi introduced H. Res. 503, “Establishing the Select

Committee to Investigate the January 6th Attack on the United States Capitol.” Two days later,

the House passed H. Res. 503 on a near party-line vote of 222 yeas and 190 nays. Only two

Republicans, Rep. Liz Cheney of Wyoming and Rep. Adam Kinzinger of Illinois, voted in favor

of H. Res. 503.

       27.     In contrast to H.R. 3233, which contemplated an evenly balanced Commission, H.

Res. 503 instructs the Speaker of the House to appoint thirteen members to the Select Committee,

only five of which “shall be appointed after consultation with the minority leader.”

       28.     Speaker Pelosi appointed Chairman Thompson, the original sponsor of H.R. 3233,

to serve as Chair of the Select Committee and appointed six additional Democrat members: Rep.

Zoe Lofgren of California, Rep. Adam Schiff of California, Rep. Pete Aguilar of California, Rep.

Stephanie Murphy of Florida, Rep. Jamie Raskin of Maryland, and Rep. Elaine Luria of Virginia.

She also appointed Republican Rep. Liz Cheney of Wyoming without any designation of position.

167 Cong. Rec. H3597 (2021).

       29.     House Minority Leader Kevin McCarthy recommended five Republican members

to serve on the Select Committee, consistent with H. Res. 503: Rep. Jim Banks of Indiana, to serve

as Ranking Member, and Rep. Rodney Davis of Illinois, Rep. Jim Jordan of Ohio, Rep. Kelly

Armstrong of North Dakota, and Rep. Troy Nehls of Texas, to serve as additional minority

members.

       30.     Speaker Pelosi did not appoint Rep. Banks to serve as Ranking Member, nor did

she appoint any other of Minority Leader McCarthy’s recommended minority members. In a



                                                8
          Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 9 of 43




public statement, she acknowledged that her refusal to appoint the members recommended by the

Minority Leader was an “unprecedented decision.” Nancy Pelosi, Speaker, U.S. House of

Representatives, Pelosi Statement on Republican Recommendations to Serve on the Select

Committee to Investigate the January 6th Attack on the U.S. Capitol (July 21, 2021),

https://www.speaker.gov/newsroom/72121-2.

        31.        Instead, Speaker Pelosi appointed Rep. Adam Kinzinger and Rep. Liz Cheney—

the only other Republicans who voted in favor of H. Res. 503—and left four vacancies. See 167

Cong. Rec. H3885 (2021).

        32.        Without reference to any authority, on September 2, 2021, Chairman Bennie

Thompson announced in a press release that “he has named Representative Liz Cheney (R-WY)

to serve as the Vice Chair of the Select Committee.” See Press Release, Bennie Thompson,

Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol, Chairman

Thompson Announces Representative Cheney as Select Committee Vice Chair (Sept. 2, 2021),

https://january6th.house.gov/news/press-releases/chairman-thompson-announces-representative-

cheney-select-committee-vice-chair. H. Res. 503 does not mention a vice chair, much less

authorize the chair to appoint a vice chair. See generally H. Res. 503, 117th Cong. (2021).

        33.        The official letterhead of the Select Committee indicates that Bennie Thompson is

“Chairman” and lists the other members, including Cheney and Kinzinger, without designation.

See, e.g., Ex. A. The Select Committee’s website provides a list of its members, including

Thompson as Chairman, but no other members receive designation. See Membership, Select

Comm.         to      Investigate    the    Jan.       6   Attack    on     the    U.S.     Capitol,

https://january6th.house.gov/about/membership (last visited Dec. 6, 2021).




                                                   9
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 10 of 43




        34.     H. Res. 503 provides that “[t]he Select Committee may not hold a markup of

legislation.”

        35.     H. Res. 503 sets forth the purposes of the Select Committee, which are substantially

similar to those of the Commission contemplated by H.R. 3233, except that H. Res. 503 omits the

fourth purpose: “[t]o investigate and report to the President and Congress on its findings,

conclusions, and recommendations for corrective measures that may include changes in law,

policy, procedures, rules, or regulations. . . .”

        36.     H. Res. 503 establishes three “functions” of the Select Committee: (1) to

“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the

Capitol”; (2) to “identify, review, and evaluate the causes of and the lessons learned from the

domestic terrorist attack on the Capitol”; and (3) to “issue a final report to the House containing

such findings, conclusions, and recommendations for corrective measures described in subsection

(c) as it may deem necessary.”

        37.     Subsection (c) of Section 4 describes three categories of “corrective measures”:

“changes in law, policy, procedures, rules, or regulations that could be taken” (1) “to prevent future

acts of violence, domestic terrorism, and domestic violent extremism, including acts targeted at

American democratic institutions”; (2) “to improve the security posture of the United States

Capitol Complex while preserving accessibility of the Capitol Complex for all Americans”; and

(3) “to strengthen the security and resilience of the United States and American democratic

institutions against violence, domestic terrorism, and domestic violent extremism.”

        38.     H. Res. 503 provides that “[t]he chair of the Select Committee, upon consultation

with the ranking minority member, may order the taking of depositions, including pursuant to

subpoena, by a Member or counsel of the Select Committee, in the same manner as a standing



                                                    10
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 11 of 43




committee pursuant to section 3(b)(1) of House Resolution 8, One Hundred Seventeenth

Congress.” Section 3(b)(1) of H. Res. 8 provides that, “[d]uring the One Hundred Seventeenth

Congress, the chair of a standing committee. . . , upon consultation with the ranking minority

member of such committee, may order the taking of depositions, including pursuant to subpoena,

by a member or counsel of such committee.”

B.     Activities of the Select Committee

       39.     Since its inception in July 2021, the Select Committee has held only one public

hearing. During that hearing, the Select Committee heard testimony from officers of the U.S.

Capitol Police and D.C. Metropolitan Police Departments who were present at the Capitol on

January 6, 2021.

       40.     The Select Committee has issued a wide range of subpoenas for documents and the

testimony of witnesses.

       41.     In August, the Select Committee demanded records from fifteen different social

media companies, including Facebook, Reddit, Twitter, and YouTube. See Press Release, Bennie

G. Thompson, Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol,

Select Committee Demands Records related to January 6th Attack from Social Media Companies

(Aug. 27, 2021). The subpoenas directed these companies to produce all internal company policies

and actions taken relating to “misinformation” about the 2020 election, efforts to interfere with the

2020 election or electoral results, violent domestic extremists, foreign interference with the 2020

election, and more. See, e.g., Zuckerberg Subpoena, Aug. 26, 2021.

       42.     The Select Committee has also issued what it describes as “sweeping” demands for

presidential records from the National Archives and Records Administration (“NARA”) and seven

other Executive Branch agencies. See Press Release, Bennie G. Thompson, Chairman, Select



                                                 11
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 12 of 43




Committee to Investigate the January 6th Attack on the United States Capitol, Select Committee

Issues Sweeping Demand for Executive Branch Records (Aug. 25, 2021).

       43.        Pursuant to the procedures set forth in the Presidential Records Act of 1978, former

President Trump has asserted executive privilege over some of the responsive documents in

NARA’s custody. See Compl. Ex. 5, Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. 2021).

       44.        On October 8, 2021 the Biden White House instructed the Archivist of the United

States to release the documents requested by the Select Committee on the grounds that President

Biden wishes to waive executive privilege over subpoenaed records over which former President

Trump has asserted executive privilege. See Second Letter from Dana A. Remus, Counsel to the

President,   to     David    Ferriero,   Archivist    of   the   United   States   (Oct.   8,   2021),

https://www.whitehouse.gov/briefing-room/statements-releases/2021/10/13/second-letter-from-

dana-a-remus-counsel-to-the-president-to-david-ferriero-archivist-of-the-united-states-dated-

october-8-2021/.

       45.        On October 18, 2021, former President Trump filed a lawsuit in the U.S. District

Court for the District of Columbia, seeking declaratory and injunctive relief to stop NARA from

producing any privileged documents in response to the Select Committee’s requests. Former

President Trump described the Committee’s NARA subpoena as “an illegal, unfounded, and

overbroad records request.” See Compl. Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. 2021).

       46.        On November 9, District Judge Tanya S. Chutkan denied former President Trump’s

motion for a preliminary injunction. See Mem. Op. 17, Trump v. Thompson, No. 1:21-cv-2769

(D.D.C. Nov. 9, 2021).




                                                     12
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 13 of 43




       47.      Former President Trump appealed the district court’s order, and the D.C. Circuit

Court of Appeals enjoined NARA from releasing the disputed Presidential records pending its

ruling. See Mem. Op. 17, Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. Nov. 9, 2021).

       48.      On November 30, 2021, the D.C. Circuit held oral argument on the merits of former

President Trump’s appeal. This case is still pending.

       49.      The Select Committee has also issued numerous subpoenas seeking the production

of documents and compelled testimony from individual witnesses, including more than a dozen

former Trump Administration officials.

C.     The Select Committee’s Meadows Subpoena

       50.      On September 23, 2021, the Select Committee served a subpoena on Mr. Meadows

(the “Meadows Subpoena”). Ex. A.

       51.      The Meadows Subpoena includes a sweeping set of document requests that relate

to his tenure as White House Chief of Staff, including twenty-seven categories:

             a. “Communications referring or relating in any way to plans, efforts, or discussions
                regarding challenging, decertifying, overturning, or contesting the results of the
                2020 Presidential election.”

             b. “All documents and communications concerning the role of the Vice President as
                the Presiding Officer in the certification of the votes of the electoral college.”

             c. “From November 3, 2020, through January 20, 2021, all documents and
                communications referring or relating to the 2020 election results sent or transmitted
                between White House officials and officials of state or local governments.”

             d. “From November 3, 2020, through January 6, 2021, all documents and
                communications referring or relating to actual or potential court decisions,
                deliberations, or processes involving challenges to the 2020 Presidential election.”

             e. “All recordings, transcripts, notes (including electronic and hand-written notes),
                summaries, memoranda of conversation, readouts, or other documents
                memorializing communications between you and President Trump and/or Members
                of Congress on January 6, 2021, relating or referring in any way to the attack on
                the Capitol.”

                                                 13
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 14 of 43




 f. “All documents that refer or relate to efforts, plans, or attempts by President Trump
    to activate the National Guard on January 6, 2021.”

 g. “From November 3, 2020, through January 19, 2021, all documents and
    communications concerning the resignation of any White House personnel or any
    politically appointed personnel of any Federal department or agency (including the
    resignation of any member of the President's Cabinet) and mentioning or referring
    (explicitly or implicitly) to the 2020 Presidential election or the events of January
    6, 2021.”

 h. “All documents and communications relating to planned protests, marches, public
    assemblies, allies, or speeches in Washington, DC, on November 14, 2020,
    December 12, 2020, or January 5, 2021, or January 6, 2021.”

 i. “All documents and communications related to security of the Capitol or other
    Federal facilities on January 5, 2021, and January 6, 2021.”

 j. “From December 1, 2020, through January 20, 2021, any documents and
    communications involving White House personnel and any Member of Congress,
    referring or relating to (a) civil unrest, violence, and/or attacks at the Capitol; (b)
    challenging, overturning, or questioning the validity of the 2020 election results;
    (c) the counting of the electoral college vote on January 6, 2021; or (d) appealing
    or challenging the decisions of courts related to the 2020 Presidential election.”

 k. “All documents and communications related to social media information
    monitored, gathered, reviewed, shared, or analyzed by White House personnel on
    January 6, 2021.”

 l. “All documents and communications related to any plan for the President to march
    or walk to the Capitol on January 6, 2021. This request includes any such
    documents or communications related to a decision not to march or walk to the
    Capitol on January 6, 2021.”

 m. “From November 3, 2020, to January 20, 2021, all documents and communications
    reporting, summarizing, or detailing the voting returns and election results of the
    2020 Presidential election.”

 n. “All documents and communications related to Donald Trump's response or
    reaction to the election results of the 2020 Presidential election, including but not
    limited to any planned public remarks.”

 o. “All documents and communications regarding a November 9, 2020, memorandum
    from Attorney General William Barr concerning investigation of voter fraud
    allegations.”



                                      14
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 15 of 43




 p. “From November 3, 2020, through January 20, 2021, all documents provided to
    you or Donald Trump reviewing, assessing, or reporting on the security of election
    systems in the United States.”

 q. “From November 3, 2020, through January 20, 2021, all documents and
    communications provided to Donald Trump regarding purported election
    irregularities, election-related, fraud, or other election related malfeasance.”

 r. “From April 1, 2020, through January 20, 2021, all documents and communications
    provided to you or Donald Trump referring to a stolen election, stealing the
    election, or a ‘rigged’ election.”

 s. “From November 3, 2020, through January 20, 2021, all documents and
    communications related to the Twenty-Fifth Amendment to the U.S. Constitution.”

 t. “Any documents and communications relating to instructions to stop or delay
    preparation for the transition of administrations.”

 u. “All communications between White House personnel and General Services
    Administration (GSA) Administrator Emily Murphy or other GSA officials relating
    to ‘ascertainment’ under the Presidential Transition Act. This includes but is not
    limited to communications discussing the recognition of Joseph Biden as the
    winner of the 2020 Presidential election.”

 v. “All documents and communications concerning the potential invocation of the
    Insurrection Act.”

 w. “From November 3, 2020, through January 20, 2021, all documents and
    communications related to martial law.”

 x. “All documents and communications concerning the use of Federal law
    enforcement or military personnel during voting or vote counting in the 2020
    Presidential election.”

 y. “Any documents and communications relating to foreign influence in the United
    States 2020 Presidential election through social media narratives and
    disinformation.”

 z. “All documents and communications related to the January 3, 2021, letter from ten
    former Defense Secretaries warning of use of the military in election disputes.”

 aa. “All documents and communications to or from the United States Secret Service
     concerning individuals in attendance at the January 6 rally in body armor, ballistic
     helmets, radio equipment, and ‘military grade’ backpacks.” See Ex. A.




                                     15
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 16 of 43




       52.    The Meadows Subpoena directed Plaintiff to produce all responsive documents by

October 7, 2021 at 10 AM, which was two weeks after its issuance.

       53.    The Meadows subpoena also demanded that Mr. Meadows appears for a deposition

to provide testimony at 2 PM on October 15, 2021.

D.     Plaintiff’s efforts to accommodate

       54.    On October 6, former President Trump sent a letter to Mr. Meadows instructing

him to maintain executive privilege in connection with any response to the Meadows Subpoena.

The letter specifically instructed Mr. Meadows that he should

       (a) where appropriate, invoke any immunities and privileges he may have from
       compelled testimony in response to the Subpoena; (b) not produce any documents
       concerning his official duties in response to the Subpoena; and (c) not provide any
       testimony concerning his official duties in response to the Subpoena.

       55.    Having served as both a Member of Congress and as White House Chief of Staff,

Mr. Meadows understands the importance of the Separation of Powers and of the accommodations

process that has traditionally been used to try to resolve disputes over executive privilege. He

therefore endeavored to find an accommodation that would allow him to provide information to

the Select Committee without violating former President Trump’s claims of executive privilege.

       56.    To that end, Mr. Meadows informed the Select Committee, through counsel, on

October 7 that he would likely require additional time to respond to the subpoena. Ex. B. He also

noted that many of the records responsive to the Select Committee’s subpoena were no longer in

his custody and control but were instead among the Presidential records held at the National

Archives.

       57.    In seeking to compel a deposition on October 15, the Select Committee offered Mr.

Meadows no opportunity to review any of the “thousands of pages of records” already produced




                                               16
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 17 of 43




by other sources, many of which were potentially relevant to the Select Committee’s inquiry into

Mr. Meadows.

       58.     Mr. Meadows promptly took steps to clarify the scope of the issues raised by the

subpoena.

       59.     On October 11, Mr. Meadows, through counsel, sent a letter to White House

Counsel Dana Remus seeking to clarify the position of the current White House. Ex. C. Among

other things, Mr. Meadows noted the longstanding position of the Executive Branch, reflected in

Attorney General opinions and opinions of the Office of Legal Counsel at the U.S. Department of

Justice, that current and former senior White House aides like Mr. Meadows are immune from

compelled congressional testimony. See, e.g., Testimonial Immunity Before Congress of the

Former Counsel to the President, O.L.C. slip op., at *2 (May 20, 2019) (“Testimonial Immunity

Before Congress”); Immunity of the Former Counsel to the President from Compelled

Congressional Testimony, 31 Op. O.L.C. 191, 192 (2007).

       60.     In discussions through counsel in October, the White House declined either to

affirm or depart from its traditional position. Although the White House Counsel’s Office engaged

in conversations with Mr. Meadows regarding the subpoena process, it declined to formally

respond to Mr. Meadows’ letter or to make any official representations regarding the White

House’s views on executive privilege or testimonial immunity.

       61.     Despite the need to maintain executive privilege and concerns about the breadth of

the subpoena, Mr. Meadows continued to pursue the possibility of an accommodation that would

allow the Select Committee to obtain non-privileged information.

       62.     On October 12, Mr. Meadows, through counsel, asked the Select Committee to

identify topics of inquiry on which he might be able to provide useful non-privileged information.



                                               17
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 18 of 43




       63.      On October 25, without any negotiation over a possible accommodation, Chairman

Thompson demanded full compliance with the subpoena under threat of contempt. Ignoring the

offers of accommodation from Mr. Meadows, he wrote: “It now appears that Mr. Meadows may

still believe that his appearance cannot be compelled and that his testimony is privileged. Given

the impasse, the Select Committee must proceed and insist, pursuant to the subpoena, that Mr.

Meadows produce all responsive documents by November 5, 2021, and appear for testimony on

November 12, 2021.” Ex. D.

       64.      Despite the Committee’s complete refusal to accommodate Mr. Meadows’

concerns regarding executive privilege and his duty to preserve long-held Executive Branch

positions, Mr. Meadows remained willing to pursue accommodation.

       65.      On November 3, he reiterated his position in a letter to the Select Committee,

informing it that he was “willing to explore with the Select Committee whether, outside the

confines of the subpoena, an accommodation could be reached by which he might be able to

answer, under agreed upon and appropriate circumstances, a limited set of questions that would

further a valid legislative purpose within the scope of the Select Committee’s inquiry.” Ex. E.

       66.      In another letter through counsel on November 3, Mr. Meadows explained to the

Select Committee that he was working diligently to ensure any documents responsive to the

subpoena were either produced to the Select Committee or in the possession of the Archivist of

the United States pursuant to the Presidential Records Act of 1978. Ex. F.

       67.      On November 5, the Committee responded with overtures of a compromise but no

offer. Ex. G. Instead, it provided a list of topics it believed did not “implicate any cognizable claim

of executive privilege” and on which it intended to question Mr. Meadows. That list consisted of:

             1) Messaging to or from the White House, Trump reelection campaign, party
                officials, and others about purported fraud, irregularities, or malfeasance in

                                                  18
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 19 of 43




    the November 2020 election. This includes, but is not limited to, Mr.
    Trump’s and others frequent use of the “Stop the Steal” slogan, even after
    lawsuits, investigations, public reporting, discussions with agency heads,
    and internally created documents revealed that there had not been
    widespread election fraud

 2) White House officials’ understanding of purported election-related fraud,
    irregularities, or malfeasance in the November 2020 election.

 3) Efforts to pressure federal agencies, including the Department of Justice, to
    take actions to challenge the results of the presidential election, advance
    allegations of voter fraud, interfere with Congress’s count of the Electoral
    College vote, or otherwise overturn President Biden’s certified victory. This
    includes, but is not limited to, Mr. Trump’s and others’ efforts to use the
    Department of Justice to investigate alleged election-related conduct, file
    lawsuits, propose that state legislatures take election-related actions, or
    replace senior leadership. It also includes similar efforts at other agencies
    such as the Department of Homeland Security, the Department of Defense,
    and, among others, the Cybersecurity and Infrastructure Security Agency.

 4) Efforts to pressure state and local officials and entities, including state
    attorneys general, state legislators, and state legislatures, to take actions to
    challenge the results of the presidential election, advance unsubstantiated
    allegations of voter fraud, interfere with Congress’s count of the Electoral
    College vote, de-certify state election results, appoint alternate slates of
    electors, or otherwise overturn President Biden’s certified victory. This
    includes, but is not limited to, an Oval Office meeting with legislators from
    Michigan, as well as a January 2, 2021 call with, among others, state
    officials, members of Congress, Mr. Trump, and Mr. Meadows.

 5) Theories and strategies regarding Congress and the Vice President’s (as
    President of the Senate) roles and responsibilities when counting the
    Electoral College vote. This includes, but is not limited to, the theories
    and/or understandings of John Eastman, Mark Martin, former Vice
    President Pence, and others.

 6) Efforts to pressure former Vice President Pence, members of his staff, and
    members of Congress to delay or prevent certification of the Electoral
    College vote. This includes, but is not limited to, meetings between, or
    including, the former Vice President, Mr. Trump, aides, John Eastman,
    members of Congress, and others.

 7) Campaign-related activities, including efforts to count, not count, or audit
    votes, as well as discussions about election-related matters with state and
    local officials. This includes, but is not limited to, Mr. Meadows’ travel to
    Georgia to observe vote counting, as well as his or Mr. Trump’s

                                       19
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 20 of 43




    communications with officials and employees in the Georgia Secretary of
    State’s Office. This also includes similar activities related to state and local
    officials in Michigan, Wisconsin, Nevada, Arizona, and Pennsylvania.

 8) Meetings or other communications involving people who did not work for
    the United States government. This includes, but is not limited to, an Oval
    Office meeting on December 18, at which Mr. Trump, Michael Flynn,
    Patrick Byrne, and others discussed campaign-related steps that Mr. Trump
    purportedly could take to change the outcome of the November 2020
    election and remain in office for a second term, such as seizing voting
    machines, litigating, and appointing a special counsel. It also includes
    communications with organizers of the January 6 rally like Amy Kremer of
    Women for America First.

 9) Communications and meetings with members of Congress about the
    November 2020 election, purported election fraud, actual or proposed
    election-related litigation, and election-related rallies and/or protests. This
    includes, but is not limited to, a December 21, 2021 meeting involving Mr.
    Trump, members of his legal team, and members of the House and Senate,
    during which attendees discussed objecting to the November 2020
    election’s certified electoral college votes as part of an apparent fight
    “against mounting evidence of voter fraud.”

 10) Efforts by federal officials, including White House staff, Mr. Trump, the
     Trump reelection campaign, and members of Congress to plan or organize
     rallies and/or protests in Washington, D.C. related to the election, including,
     but not limited to, the January 6 rally on the Ellipse.

 11) Advance knowledge of, and any preparations for, the possibility of violence
     during election-related rallies and/or protests in Washington, D.C.

 12) Events in the days leading up to, and including, January 6. This includes,
     but is not limited to, campaign-related planning and activities at the Willard
     Hotel, planning and preparation for Mr. Trump’s speech at the Ellipse, Mr.
     Trump and other White House officials’ actions during and after the attack
     on the U.S. Capitol, and contact with members of Congress, law
     enforcement, the Department of Defense, and other federal agencies to
     address or respond to the attack.

 13) The possibility of invoking martial law, the Insurrection Act, or the 25th
    Amendment based on election-related issues or the events in the days
    leading up to, and including, January 6.

 14) The preservation or destruction of any information relating to the facts,
    circumstances, and causes relating to the attack of January 6th, including



                                       20
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 21 of 43




                any such information that may have been stored, generated, or destroyed on
                personal electronic devices.

             15) Documents and information, including the location of such documents and
                information, that are responsive to the Select Committee’s subpoena. This
                includes, but is not limited to, information stored on electronic devices that
                Mr. Meadows uses and has used.

             16) Topics about which Mr. Meadows has already spoken publicly. This
                 includes, but is not limited to, Mr. Meadows’ February 11, 2021,
                 appearance on the Ingraham Angle show to discuss the January 6 attack on
                 the U.S. Capitol, Mr. Trump’s reactions to the attack, and the National
                 Guard.

       68.      Notwithstanding Chairman Thompson’s suggestion that this list implicated no

“cognizable claim of executive privilege,” it expressly includes, among other things,

communications with the Vice President, two Oval Office meetings, White House Officials’

understanding of election security, and Mr. Meadows’ conversations with the President.

       69.      Chairman Thompson also asserted that this list was “non-exclusive and may be

supplemented” but assured Mr. Meadows that the Select Committee did not intend to “seek

information from [him] unrelated to the 2020 election and what led to and occurred on January 6.”

       70.      The letter then requested that Mr. Meadows provide his “input on the topics”

contained in the list no later than November 8, three days after the letter was sent.

       71.      Mr. Meadows promptly responded on November 8 and sought clarification of the

Committee’s position in two respects: (1) whether the Committee was open to Mr. Meadows

providing written responses to interrogatories from the Select Committee in which he would

clearly articulate the basis for any assertion of executive privilege; and (2) whether the Committee

would be amenable to narrowing the topics of inquiry. Ex. H.

       72.      On November 9, Chairman Thompson responded with a letter criticizing Mr.

Meadows for not setting forth his privilege objections in writing and stating that “it appears that



                                                  21
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 22 of 43




the accommodation process has reached its natural conclusion,” notwithstanding Mr. Meadows’

continued efforts to define the contours of an accommodation. Ex. I.

       73.     On November 10, Mr. Meadows responded to point out that he had, in fact, offered

written explanations of his positions on multiple occasions but that the Select Committee had

repeatedly refused in favor of live testimony with no opportunity for written responses. Ex. J.

       74.     On November 11, Chairman Thompson responded by baselessly accusing Mr.

Meadows of failing to negotiate in good faith and, in keeping with his previous positions, stated

that “there is no valid legal basis for Mr. Meadows’ continued resistance to the Select Committee’s

subpoena. As such, the Select Committee expects Mr. Meadows to produce all responsive

documents and appear for deposition testimony tomorrow, November 12, 2021, at 10:00 a.m.” Ex.

K.

       75.     The same day—the day before the Select Committee’s scheduled deposition—Mr.

Meadows received a letter from the Deputy Counsel to the President informing him that President

Biden had determined that would not assert executive privilege with respect to certain categories

of testimony or documents. Ex. L.

       76.     Consistent with his prior representations to the Select Committee, Mr. Meadows

did not appear for a deposition on November 12.

       77.     Despite the previous breakdown in negotiations, Mr. Meadows continued his

attempts to reach an agreement with the Select Committee.

       78.     On November 19, Mr. Meadows sent a letter to the Select Committee clearly

communicating a list of topics on which he would be willing to provide responses to written

interrogatories. Ex. M. He also noted that his “expectation would be that, after working through

this written process and after further consultation with counsel for the Select Committee, Mr.



                                                22
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 23 of 43




Meadows could agree outside of compulsion by subpoena to appear voluntarily for a deposition

within the parameters established through the initial process.”

       79.     On November 22, the Monday before the Thanksgiving holiday, Chairman

Thompson again rejected Mr. Meadows’ proposal to begin the accommodation process with

written interrogatories and reiterated his accusation that Mr. Meadows was not negotiating in good

faith. Ex. N. He demanded that Mr. Meadows produce all responsive documents by Friday,

November 26—the day after Thanksgiving—and that he appear for a new deposition the following

Monday, November 29, at 10 AM. Chairman Thompson refused to commit to avoiding questions

that plainly implicate privilege, stating only that Select Committee intended to “begin by asking

questions address obviously non-privileged topics.” (Emphasis added.) While couched as an effort

“accommodation,” Chairman Thompson’s letter required Mr. Meadows to produce the same

information demanded by the subpoena in the same manner demanded by the subpoena with no

respect for executive privilege.

       80.     Believing that the Select Committee would act as it had promised, Mr. Meadows

agreed to appear for a deposition. Such deposition would necessarily be voluntary—that is, not

subject to the Select Committee’s compulsion and was expressly agreed to as such. It would also

be limited in scope to those matters the Select Committee believed to be outside the scope of

privilege. Counsel would be present for the deposition and able to assert claims of executive

privilege where appropriate, and Mr. Meadows’ counsel would also have the opportunity at least

three business days in advance to review any documents the Select Committee intended to show

or question Mr. Meadows about during the deposition. Ex. O.

       81.     The same day that Mr. Meadows agreed to appear before the Select Committee for

a voluntary deposition, his counsel made a generous initial document production to the Select



                                                23
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 24 of 43




Committee. Ex. P. On that day, Mr. Meadows’ counsel provided the Select Committee

non-privileged emails and other documents potentially responsive to the subpoena, which were

obtained from Mr. Meadows’ personal Gmail account. This initial production consisted of 1,139

documents and 6,836 total pages, along with a privilege log for any documents withheld. Mr.

Meadows’ counsel also explained that it was in the process of reviewing Mr. Meadows’ personal

text messages, which were forthcoming but delayed due to technical issues in retrieving this

information.

       82.     The Select Committee accepted Mr. Meadows’ offer to provide a voluntary

deposition on December 8, 2021 at 10 a.m., on the condition that Mr. Meadows produce all

documents responsive to the subpoena by December 3, 2021. Ex. Q. The Select Committee also

agreed to provide Mr. Meadows’ counsel the documents it expected to show or question Mr.

Meadows about during the deposition.

       83.     Mr. Meadows’ counsel worked diligently to produce all responsive, non-privileged

documents to the Select Committee by December 3, which it did. On December 3, Mr. Meadows’

counsel produced 2,319 text messages and metadata from his personal cell phone to the Select

Committee and provided a privilege log for any withheld text messages. Mr. Meadows also

produced 20 more documents recovered from Mr. Meadows’ personal computer. Ex. R.

E.     The Select Committee’s Verizon Subpoena

       84.     Mr. Meadows believed that the Select Committee would act in good faith and in

accordance with their agreement that he appear for a voluntary deposition on issues outside the

scope of executive privilege, until on December 4, 2021 he was blindsided by a letter from Verizon

Wireless, the carrier for his previous personal cell phone. Ex. S. The letter references a cell phone

registered to Meadows for Congress that was used by Mr. Meadows as his personal cell phone



                                                 24
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 25 of 43




during his tenure as White House Chief of Staff. It is also the same cell phone from which Mr.

Meadows’ counsel had reviewed and produced records to the Select Committee on December 3.

       85.     The letter from Verizon Wireless relayed the fact that it had received a subpoena

(“Verizon subpoena”) from the Select Committee requesting certain phone records. Verizon noted

that it would comply with the subpoena by producing the records unless it received “a court

document challenging the subpoena by December 15, 2021.”

       86.     The Verizon subpoena, issued by the Select Committee on November 22, 2021,

instructs Verizon to produce subscriber information and cell phone data associated with Mr.

Meadows’s personal cell phone number. The subscriber information requested includes subscriber

names and contact information, authorized users, time of service provided, account changes,

associated IP addresses, and other metadata. The cell phone data requested could include all calls,

text messages, and other records of communications associated with that phone number. This data

can be used for historic cell site analysis. The Verizon subpoena requested all Mr. Meadows’

personal cell phone data for four months: from October 1, 2020 and January 31, 2021.

       87.     The breadth and invasiveness of the Verizon subpoena also gave the appearance of

a criminal investigation, not a legislative fact-finding mission. It seeks private data used to track

an individual person’s communications and location, information that would bear on an

investigation into that individual, not on potential legislation to be passed by Congress. It also

requests this data for a period more than three months prior to January 6, the ostensible focus of

the Committee’s supposed legislative recommendations.

       88.     Public reports released on December 7, 2021 indicate that the Select Committee

has issued subpoenas to collect the phone data of more than 100 individuals. See Zachary Cohen,

et al., Exclusive: January 6 committee casts a wide net with over 100 subpoenas for phone records,



                                                 25
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 26 of 43




CNN (Dec. 7, 2021) https://www.cnn.com/2021/12/07/politics/january-6-committee-phone-

records/index.html.This type of investigation to analyze the location and communication, with the

clear intent to determine possible coordination between individuals, is reminiscent of a criminal

investigation, not legislative intent.

        89.     Supporting Mr. Meadows’ decision not to appear for the deposition, Chairman

Thompson made a public statement on December 2, 2021 that those who appear before his Select

Committee and invoke their Fifth Amendment privilege against self-incrimination are “part and

parcel guilty to what occurred.” Tim Hains, Jan. 6 Committee Chairman Bennie Thompson: If You

Plead The Fifth, You’re “Part & Parcel Guilty, RealClear Politics, Dec. 2, 2021,

https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_bennie_th

ompson_if_you_plead_the_fifth_youre_part_and_parcel_guilty.html.

        90.     Therefore, on December 7, 2021, counsel for Mr. Meadows provided formal notice

to the Select Committee that in light of the Verizon subpoena and Chairman Thompson’s

comments, Mr. Meadows must withdraw his offer to appear voluntarily for a deposition. Ex. T.

Counsel offered, again, that the Select Committee propound written interrogatories on Mr.

Meadows, such that he would be able to produce a clear record of his answers to certain questions

while asserting appropriate privileges.

                     REASONS WHY THE SUBPOENAS ARE INVALID

A.      The subpoenas are not validly issued by a duly authorized committee.

        91.     The composition of the House Select Committee to Investigate the January 6th

Attack on the United States Capitol is governed by Section 2 of H. Res. 503. Section 2(a) states

“Appointment Of Members.—The Speaker shall appoint 13 Members to the Select Committee, 5




                                               26
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 27 of 43




of whom shall be appointed after consultation with the minority leader.” H. Res. 503 117th Cong.

(2021).

          92.   Speaker Pelosi has appointed only nine members to the Select Committee: seven

Democrats and two Republicans. None of these members was appointed from the selection of five

GOP congressman put forth by Minority Leader Kevin McCarthy.

          93.   Authorized congressional committees have subpoena authority implied by Article

I of the Constitution. McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The Select Committee,

however, is not an authorized congressional committee because it fails to comport with its own

authorizing resolution, House Resolution 503.

          94.   Congress’ failure to act in accordance with its own rules is judicially cognizable.

Yellin v. United States, 374 U.S. 109, 114 (1963). This is particularly significant where a person’s

fundamental rights are involved.

          95.   Speaker Pelosi failed to appoint members consistent with the authorizing resolution

of the Select Committee. Pelosi has appointed only nine members of Congress to serve on the

Select Committee; whereas the authorizing resolution instructs the Speaker “shall” appoint thirteen

members. H. Res. 503 § 2(a), 117th Cong. (2021).

          96.   Further, of those nine members Speaker Pelosi has appointed, none of them was

appointed after consultation with the minority member, as is required by the authorizing resolution.

H. Res. 503 § 2(a), 117th Cong. (2021).

          97.   Thus, the Select Committee as it currently stands—and stood at the time it issued

the subpoenas in question—has no authority to conduct business because it is not a duly constituted

Select Committee. Chairman Thompson’s subpoenas are invalid and unenforceable.




                                                27
          Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 28 of 43




        98.     Chairman Thompson derives the authority to issue subpoenas solely from § 5(c)(6)

of the Select Committee’s authorizing statute, but this authority is qualified, not absolute. The

Select Committee chairman may not order the taking of depositions without consultation with the

ranking minority member of the Select Committee.

        99.     As the Select Committee has no ranking minority member, Chairman Thompson

failed to make the requisite consultation before issuing the subpoena that compelled Mr. Meadows

to appear for a deposition. The ordering of Mr. Meadows’ deposition runs afoul of the Select

Committee’s authorizing resolution, making it invalid and unenforceable.

B.      The subpoenas are not issued to further a valid legislative purpose.

        100.    The subpoenas issued to Mark Meadows and Verizon were issued by the Select

Committee as part of an unconstitutional attempt to usurp the Executive Branch’s authority to

enforce the law and to expose what the Select Committee believes to be problematic actions by a

political opponent. Congress has no authority to issue subpoenas for these purposes.

        101.     Congress has no freestanding power to issue subpoenas. Instead, its investigative

powers are ancillary to its legislative authority. Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031

(2020). Because of this tie between the investigative and legislative powers, Congress may only

issue subpoenas that serve a valid legislative purpose.

        102.    Law enforcement and the punishment of perceived legal wrongs are not valid

legislative purposes. To the extent Congress seeks to utilize subpoenas to investigate and punish

perceived criminal wrongdoing, it unconstitutionally intrudes on the prerogatives of the Executive

Branch.

        103.    Similarly, a desire to “expose for the sake of exposure” cannot sustain a

congressional subpoena. Watkins v. United States, 354 U.S. 178, 200 (1957). Bringing information

to light for the sake of bringing it to light is not a valid legislative end.
                                                    28
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 29 of 43




       104.    Even if Congress uses a subpoena to seek information relevant to contemplated

legislation, the subpoena may still be invalid if the contemplated legislation would be

unconstitutional—such as an impermissible limit on the conduct or authority of the executive. See

McGrain v. Daugherty, 273 U.S. 135, 171 (1927); Kilbourn v. Thompson, 103 U.S. 168, 195

(1880); Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982).

       105.    The legislative purpose inquiry analyzes whether a particular subpoena serves a

valid purpose, not whether an investigation as a whole serves a valid purpose. See Trump v. Mazars

USA, LLP, 140 S. Ct. 2019, 2031 (2020).

       106.    The Select Committee has failed to identify any legislative purpose served by the

Meadows Subpoena. It has not considered any draft legislation, nor has it provided any explanation

for why its requests to Mr. Meadows would further any valid legislative end.

       107.    Instead of identifying any valid end or proposed legislation, the Select Committee

has issued public statements explicitly identifying law enforcement and the desire to expose for

the sake of exposure as its motivations for subpoenaing Mr. Meadows.

       108.    Chairman Thomas and Vice-Chair Cheney have reiterated in their public statements

that the purpose of their investigation is to ensure “those responsible are held accountable,” to

“tell[] the complete story of the unprecedented and extraordinary events of January 6th,” and to

“get answers for the American people about what happened on January 6th.” The Law Enforcement

Experience on January 6th: Hearing Before the H. Select Committee to Investigate the January

6th Attack on the United States Capitol, 117th Cong. (2021) Statement of Elizabeth Cheney, Vice-

Chair); Press Release, Thompson & Cheney Statement on Pentagon Officials’ Reported Actions

After January 6th (Sept. 16, 2021); Press Release, Thompson Statement on Cooperation of

Witnesses (Oct. 14, 2021).



                                               29
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 30 of 43




       109.    The Select Committee’s authorizing resolution also fails to identify its legislative

purpose. It is vague to the point of meaninglessness, authorizing the Select Committee to

“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the

Capitol, including facts and circumstances relating to… entities of the public and private sector as

determined relevant by the Select Committee for such investigation.”

       110.    Nor is the nature of the information sought by the subpoena of a kind that would

further a valid legislative purpose.

       111.    The subpoena seeks Executive Branch deliberative material, information

temporally and logically disconnected from the events of January 6, and information that is

irrelevant to any conceivable legislation.

       112.    This information has no bearing on any contemplated constitutional legislation. It

is relevant only to serve the Select Committee’s stated purpose of engaging in ad-hoc law

enforcement and its unstated purpose of antagonizing its political adversary.

C.     The Select Committee seeks to use an excessively broad third-party subpoenas to
       obtain personal cell phone data.

       113.    The Verizon subpoena also seeks information unrelated to any potential legislation.

       114.    The Verizon subpoena seeks Mr. Meadows’ cell phone metadata, despite the fact

that he has already provided the Select Committee with his responsive text messages, emails, and

the metadata attached thereto.

       115.    The only additional information that could be gleaned by the Verizon subpoena is

either privileged or concerns Mr. Meadows’ internet protocol and data-connection detail records.

       116.    The subpoena is also sufficiently broad to sweep in privileged details regarding Mr.

Meadows’s communications with his attorneys and his communications and actions as a senior

executive official.

                                                30
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 31 of 43




        117.    Mr. Meadows’ location and IP records dating back to the October 1, 2020 would

not serve to inform any valid legislative action. There is simply no way that kind of granular

information about a senior executive official could serve Congress in the permissible execution of

its constitutional functions.

        118.    In addition to seeking information that could not possibly bear on the passage of

any law, the Verizon subpoena represents a novel and sweeping vision of Congressional

investigative authority—the Select Committee has taken upon itself to subpoena a third-party

corporation in order to ascertain the precise location of the Chief of Staff over a four-month period.

        119.    This subpoena represents an attempt to extend Congressional fact-finding authority

beyond even the powers of the Executive Branch, which cannot obtain this kind of information

without a warrant. And it does so with barely a perfunctory attempt at identifying a legislative

purpose.

C.      The Select Committee cannot obtain records under the Verizon Subpoena consistent
        with the Stored Communications Act

        120.    The Stored Communications Act prohibits the Select Committee from obtaining

the subpoenaed records from Verizon.

        121.    To the extent the Select Committee is seeking production of the contents of

communications, that request is prohibited under Section 2702(a)(1) of Title 18.

        122.    The Stored Communications Act generally provides that “a person or entity

providing electronic communication service to the public shall not knowingly divulge to any

person or entity the contents of a communication while in electronic storage by that service.” 18

U.S.C. § 2702(a)(1).

        123.    Verizon is “a person or entity providing electronic communication service to the

public” within the meaning of the Stored Communications Act.


                                                 31
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 32 of 43




        124.    The Select Committee qualifies as “any person or entity” within the meaning of the

Stored Communications Act.

        125.    Section 2702(a)(1) therefore prohibits knowing disclosure of “the contents of a

communication” stored by Verizon to the Select Committee absent an express statutory exception

outlined in Section 2702(b).

        126.    None of the statutory exceptions in Section 2702(b) applies to the Select

Committee’s subpoena.

        127.    To the extent the Select Committee is seeking production of non-communication

records and information, that request is prohibited under Section 2702(c) of Title 18.

        128.    The Stored Communications Act provides that “[a] provider described in [Section

2702(a)] may divulge a record or other information pertaining to a subscriber to or customer of

such service (not including the contents of communications covered by subsection (a)(1) or

(a)(2))” if one of seven criteria is met.

        129.    Mr. Meadows is “a subscriber to or customer of [Verizon’s] service” within the

meaning of the Stored Communication Act.

        130.    The Select Committee cannot obtain the subpoenaed records under Section

2702(c)(1) because disclosure would not be “as otherwise authorized in section 2703.” 18 U.S.C.

§ 2702(c)(1). Specifically, on information and belief, the Select Committee has not obtained and

cannot obtain “a warrant issued using the procedures described in the Federal Rules of Criminal

Procedure . . . by a court of competent jurisdiction,” as would be required to obtain records “in

electronic storage in an electronic communications system for one hundred days or less.” Id. §

2703(a). Nor has the Select Committee provided Mr. Meadows with “prior notice” and obtained

either (i) “an administrative subpoena authorized by a Federal or State statute or a Federal or State



                                                 32
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 33 of 43




grand jury or trial subpoena” or (ii) “a court order,” as would be required to obtain records “in

electronic storage . . . for more than one hundred and eighty days.” Id. § 2703(a), (b)(1).

       131.    The Select Committee does not have lawful consent to obtain the subpoenaed

records. See id. § 2702(c)(2).

       132.    The Select Committee does not constitute or represent “a law enforcement agency”

within the meaning of the Stored Communications Act. Id. § 2702(c)(7).

       133.    The Select Committee may represent a “governmental entity” but, on information

and behalf, have not shown and cannot demonstrate “in good faith” “that an emergency involving

danger of death or serious physical injury to any person requires disclosure without delay of

information relating to the emergency.” Id. § 2702(c)(4), (6).

       134.    No other exception in Section 2702(c) would authorize the Select Committee to

obtain the subpoenaed records.

D.     The subpoenas violate executive privilege.

       135.    The Select Committee’s subpoena to Mr. Meadows unlawfully seeks information

covered by executive privilege and improperly attempts to compel testimony by a senior Executive

Branch official.

       136.    During his time as Chief of Staff, Mr. Meadows was among the most senior

Executive Branch officials and his communications and deliberations were covered by executive

privilege.

       137.    That privilege reaches Mr. Meadows’ communications “in the course of preparing

advice for the President,” In re Sealed Case, 121 F.3d 729, 752 (D.C. Cir. 1997) and any materials

that reveal his or other executive officials’ predecisional deliberative processes. See Army Times

Publ'g Co. v. Department of the Air Force, 998 F.2d 1067, 1070 (D.C. Cir. 1993).



                                                 33
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 34 of 43




       138.    The subpoena served on Mr. Meadows clearly seeks information protected by

executive privilege.

       139.    Among other things, the subpoena expressly requests summaries of Mr. Meadows’

conversations with the President, records of his conversations with other senior executive officials,

and the contents of advice provided to the President by his senior advisors.

       140.    Throughout the course of negotiations regarding potential accommodations, the

Select Committee has repeatedly clarified that the subpoena seeks privileged information.

       141.    Most notably, the Select Committee provided Mr. Meadows with a list of topics for

his deposition, informing him that it believed these topics did not “implicate any cognizable claim

of executive privilege.” That list expressly included Mr. Meadows’ conversations with the

President, his communications with the Vice President, two Oval Office meetings, and White

House Officials’ deliberations regarding election security. See Ex. G, November 5, 2021 Letter

from Chairman Bennie Thompson to counsel for Mr. Meadows.

       142.    Mr. Meadows’ conversations with the President, Vice President, and other senior

executive officials are covered by executive privilege, as is any information regarding executive

officials’ deliberative processes regarding election security.

       143.    The subpoena’s twenty-seven demands also demand substantial amounts of

privileged information not specifically enumerated here.

       144.    Despite Mr. Meadows’ good faith attempts to negotiate with the Select Committee

to provide relevant, nonprivileged information, the Select Committee has insisted on pursuing the

full breadth of information identified in the subpoena.

       145.    When a congressional committee uses its subpoena power to seek information

covered by executive privilege, the subpoena will only be enforced where “the subpoenaed



                                                 34
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 35 of 43




evidence is demonstrably critical to the responsible fulfillment of the Select Committee's

functions.” Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 731

(D.C. Cir. 1974).

       146.    The information sought by the Select Committee is not demonstrably critical to its

functions as it is not relevant to any legislative purpose and could be obtained from alternative

sources.

       147.    As alleged previously, the information is not relevant to a valid legislative purpose.

       148.    Additionally, the vast majority of the information sought by the Select Committee

could be obtained from other sources. Very little, if any, of the information sought by the Select

Committee is in Mr. Meadows’ sole possession. Much of it could obtained via subpoenas to

individuals outside the Executive Branch or individuals who lie farther from the core of executive

privilege.

       149.    The subpoena also purports to compel Mr. Meadows to appear and give testimony

regarding the topics identified therein.

E.     The Select Committee violates longstanding testimonial immunity for senior advisors
       to the President.

       150.    Senior executive officials are immune from such compelled testimony because of

their close relationship to the President and attending importance with respect to the operation of

the executive and relationship between the branches of government. Immunity of the Assistant to

the President, 38 Op. O.L.C. 5, 1 (2014); Immunity of the Former Counsel, 31 Op. O.L.C. 191,

191 (2007); Assertion of executive privilege with Respect to Clemency Decision, 23 Op. O.L.C. 1,

4 (1999); Immunity of the Counsel to the President from Compelled Congressional Testimony, 20

Op. O.L.C. 308, 308 (1996).




                                                35
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 36 of 43




       151.    Because Mr. Meadows as Chief of Staff at the White House was so inextricably

involved in the President’s decision-making, “[s]ubjecting [him] to the congressional subpoena

power would be akin to requiring the President himself to appear before Congress on matters

relating to the performance of his constitutionally assigned executive functions.” Assertion of

executive privilege, 23 Op. O.L.C. at 5.

       152.    Despite Mr. Meadows’ role as Chief of Staff, the Select Committee, both implicitly

in its subpoena and explicitly in its letters to Mr. Meadows, has rejected any claim of testimonial

immunity, demanded that Mr. Meadows appear for testimony, and threatened to refer him for

contempt of Congress if he declines.

       153.    This demand and the attending threat contravene Mr. Meadows’ testimonial

immunity as a senior executive official.

E.     Compelled production under the Verizon Subpoena would violate the Fourth
       Amendment.

       154.    The Verizon Subpoena instructs Verizon to produce subscriber information and cell

phone data associated with the phone number previously used by Mr. Meadows.

       155.    On December 5, 2021, Mr. Meadows received a letter dated December 2 from

Verizon Security Subpoena Compliance notifying him of its duty to comply with the subpoena.

The letter provided that Verizon would comply with the subpoena unless it “receives a court

document challenging the subpoena by December 15, 2021.”

       156.    This cell phone number was used by Mr. Meadows as his personal cell phone during

his tenure as White House Chief of Staff.

       157.    The subscriber information requested includes subscriber names and contact

information, authorized users, time of service provided, account changes, associated IP addresses,

and other metadata.


                                                36
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 37 of 43




          158.   The cell phone data requested includes all calls, text messages, and other records

of communications associated with that phone number.

          159.   This data can be used for historic cell site analysis.

          160.   The requested data covers four full months: October 1, 2020 through January 31,

2021.

          161.   Mr. Meadows produced to the Select Committee on December 3, 2021 content,

including metadata, from this cell phone that was responsive to his September 23, 2021 subpoena.

          162.   Mr. Meadows has a reasonable expectation of privacy in his personal cell phone

data.

          163.   The Fourth Amendment enumerates the right of private individuals to be free from

unreasonable search and seizure by the government into their persons, houses, papers, and effects.

It also protects a person’s reasonable privacy expectations. Katz v. United States, 389 U.S. 347,

351 (1967).

          164.   The fact that a third party at least temporarily stores a person’s cell phone data does

not alter his expectation or its reasonableness. Carpenter v. United States, 138 S. Ct. 2206, 2217

(2018).

          165.   The Fourth Amendment restricts the ability of the Select Committee to issue

sweeping subpoenas untethered from any valid legislative purpose. See Oklahoma Press Pub. Co.

v. Walling, 327 U.S. 186, 196 (1946) .

          166.   If the government, including the Select Committee, seeks to obtain documents or

data protected by the Fourth Amendment, it must be obtained by consent or otherwise authorized

by law. Mr. Meadows has not provided his consent for Verizon to produce his cell phone data to




                                                   37
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 38 of 43




the Select Committee. And for the reasons discussed infra, the Select Committee’s subpoenas are

invalid.

       167.      A congressional subpoena must be reasonable. An all-encompassing subpoena for

personal, nonofficial documents falls outside the scope of Congress’ legitimate legislative power.

See Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2040 (2020).

       168.      The Select Committee’s subpoena to both Verizon and Mr. Meadows are so broad

and indefinite as to exceed the lawfully authorized purpose of the Select Committee. See McPhaul

v. United States, 364 U.S. 372, 381 (1960). The subpoena to Verizon, in particular, contains no

limitations seeking to preserve applicable privileges or prevent violations of constitutional rights.

       169.      For the Select Committee to subpoena Verizon for all Mr. Meadows’ personal cell

phone data over the course of four months is entirely unreasonable. Such a request is so broad both

temporally and with respect to the collected data, that the Select Committee exceeds any lawfully

authorized purpose.

       170.      Likewise, the Select Committee’s subpoena seeking Mr. Meadows’ documents and

testimony throughout the course of his entire tenure as White House Chief of Staff is overly broad.

The request is overly broad with respect both to the timeframe and the subject matters in question.

It exceeds any authorized purpose of the Select Committee.

       171.      As the subpoenas in question exceed the lawfully authorized purpose of the Select

Committee, full compliance with such subpoenas would violate Mr. Meadows’ Fourth

Amendment protection against unlawful search and seizure. The subpoenas are thus invalid and

unenforceable.




                                                 38
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 39 of 43




F.     Compelled production of cell phone data under the Verizon Subpoena would violate
       the First Amendment.

       172.    The subpoena of Mr. Meadows’ private cell phone data violates his right to free

association and chills the exercise of free speech rights.

       173.    The Committee’s subpoena of Verizon identifies Mr. Meadows’ personal cell

phone number and requests the data associated with it—data which Mr. Meadows has already

provided with respect to his responsive documents.

       174.    Additionally, Mr. Meadows used his personal phone to engage in protected

advocacy and other speech, including privileged speech with his attorneys and spouse.

       175.    Mr. Meadows also used his personal phone to engage in private conversations with

friends and family.

       176.    All of these associational and expressive activities are protected by the First

Amendment. See Buckley v. Valeo, 424 U.S. 1, 64 (1976); Black Panther Party v. Smith, 661 F.2d

1243, 1267 (D.C. Cir. 1981); Am. Fed'n of Lab. & Cong. of Indus. Organizations v. Fed. Election

Comm'n, 333 F.3d 168, 179 (D.C. Cir. 2003).

       177.    The Committee has no legitimate purpose for seeking the protected information

demanded by the subpoena. Mr. Meadows has already provided the Committee with the substance

and metadata of his responsive emails and text messages. Additional information will not

meaningfully aid the Committee in any valid pursuit.

       178.    Even if had a valid reason to seek protected information, the Committee has put in

place no safeguards to protect Mr. Meadows’ rights. It provided Mr. Meadows with no notice of

the subpoena and has provided him with no opportunity to assert claims of privilege or other legal

protections over the demanded information. It also has no provisions for a taint team or analogous

filter for privileged information. The entirety of the demanded information, including that which


                                                 39
           Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 40 of 43




is constitutionally or otherwise protected, will be turned over to the Committee to do with as it

pleases.

       179.    The Verizon subpoena is also a clear effort to chill the speech of the Committee

Member’s political adversaries.

       180.    The body that issued this subpoena is composed of 9 members, 7 of whom belong

to the political party that opposed the President under which Mr. Meadows served.

       181.    As noted above, the subpoena served no substantive purpose in the Committee’s

investigation—it will not turn up any new relevant information.

       182.    Allowing an entirely partisan select committee of Congress to subpoena the

personal cell phone data of executive officials would work a massive chilling of current and future

Executive Branch officials’ associational and free speech rights

       183.    The Committee’s asserted interest is insufficient and its alternative means of

obtaining this information are too obvious to justify such a drastic chilling of speech




                                                40
         Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 41 of 43




                                        PRAYER FOR RELIEF

       Wherefore, Plaintiff asks the Court to enter judgment in his favor and against Defendants

and to order the following relief:

           a. A declaratory judgment that the Meadows Subpoena and the Verizon Subpoena are

               ultra vires, unlawful, and unenforceable;

           b. A declaratory judgment that the Meadows Subpoena and the Verizon Subpoena

               serve no valid legislative purpose and exceed the Select Committee’s Constitutional

               authority;

           c. A declaratory judgment that compliance with the Verizon Subpoena would violate

               the Stored Communications Act;

           d. A declaratory judgment that the Meadows Subpoena improperly compels testimony

               of a senior executive official;

           e. A declaratory judgment that the Verizon Subpoena violates Mr. Meadows First

               Amendment rights;

           f. A declaratory judgment that the Verizon Subpoena violates Mr. Meadows Fourth

               Amendment rights;

           g. In the alternative, an order modifying the Meadows Subpoena and the Verizon

               Subpoena to seek only unprivileged information that does not infringe on Mr.

               Meadows’s constitutional rights;

           h. In the alternative, a declaration that Mr. Meadows may validly assert executive

               privilege over communications and deliberations related to his service of the

               President;




                                                 41
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 42 of 43




 i. An injunction quashing the Meadows Subpoena and the Verizon Subpoena and

    prohibiting their enforcement by Defendants;

 j. An injunction prohibiting Defendants from imposing sanctions for noncompliance

    with the Meadows Subpoena and/or the Verizon Subpoena;

 k. An injunction prohibiting Defendants from inspecting, using, maintaining, or

    disclosing any information obtained as a result of the Meadows Subpoena and/or

    the Verizon Subpoena;

 l. An award in favor of Plaintiff for his reasonable expenses, including attorneys’ fees

    and costs, incurred as a result of the Meadows Subpoena and Verizon Subpoena;

    and

 m. Any and all other relief that the Court deems just and proper.




                                     42
Case 1:21-cv-03217-CJN Document 1 Filed 12/08/21 Page 43 of 43
